993 F.2d 229
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Calvin SLADE, Plaintiff-Appellant,v.Don MARCHIO, State Parole/Probation Officer, Defendant-Appellee.
    No. 93-6152.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  March 29, 1993Decided:  April 27, 1993
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  J. Calvitt Clarke, Jr., Senior District Judge.  (CA-93-56-N)
      Calvin Slade, Appellant Pro Se.
      E.D.Va.
      AFFIRMED
      Before LUTTIG, Circuit Judge, and BUTZNER and CHAPMAN, Senior Circuit Judges.
      PER CURIAM:
    
    
      1
      Calvin Slade appeals from the district court's order that dismissed his "Complaint for Damages" in which he alleged his probation officer committed "defamation of character, libel and slander."  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Slade v. Marchio, No. CA-93-56-N (E.D. Va.  Jan. 28, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    